
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH





NO. 2-07-349-CR





TOMMY JEROLD HUTCHINGS, JR.	APPELLANT



V.



THE STATE OF TEXAS	STATE



------------



FROM CRIMINAL DISTRICT COURT NO. 1 OF TARRANT COUNTY



------------



MEMORANDUM OPINION
(footnote: 1)


------------

Tommy Jerold Hutchings, Jr. appeals his conviction for possession of methamphetamine—one gram or more but less than four grams. &nbsp;Hutchings’s court-appointed appellate counsel has filed a motion to withdraw as counsel and a brief in support of that motion. &nbsp;In his motion, counsel avers that he has conducted a professional evaluation of the record and, after a thorough review of the applicable law, has reached the conclusion that there are no arguable grounds to be advanced to support an appeal of this cause and that the appeal is frivolous. &nbsp;Counsel’s brief and motion meet the requirements of 
Anders 
by presenting a professional evaluation of the record demonstrating why there are no reversible grounds on appeal and referencing any grounds that might arguably support the appeal. 
 See Anders v. California
, 386 U.S. 738, 741, 87 S. Ct. 1396, 1400 (1967); 
Mays v. State
, 904 S.W.2d 920, 922
–
23 (Tex. App.—Fort Worth 1995, no pet.). &nbsp;Hutchings was given the opportunity to file a pro se brief on his own behalf, but he chose not to do so.

In our duties as a reviewing court, we must conduct an independent evaluation of the record to determine whether counsel is correct in determining that the appeal is frivolous. &nbsp;
See Stafford v. State
, 813 S.W.2d 503, 511 (Tex. Crim. App. 1991); 
Mays
, 904 S.W.2d at 923. &nbsp;Only then may we grant counsel’s motion to withdraw. 
 See Penson v. Ohio
, 488 U.S. 75, 82
–
83, 109 S. Ct. 346, 351 (1988)
.

We have carefully reviewed the appellate record and counsel’s brief. &nbsp;We agree that the appeal is wholly frivolous and without merit. &nbsp;We find nothing in the record that might arguably support the appeal. 
 See Bledsoe v. State
, 178 S.W.3d 824, 827 (Tex. Crim. App. 2005). 
Therefore, we grant the motion to withdraw filed by Hutchings’s appellate counsel and affirm the trial court’s judgment.



PER CURIAM

PANEL: &nbsp;HOLMAN, GARDNER, and WALKER, JJ.

DO NOT PUBLISH

Tex. R. App. P. 47.2(b)



DELIVERED: &nbsp;October 16, 2008

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




